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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 22–cv–00262–CNS–MDB


   REX A. FREDERICKSON,

          Plaintiff,
   v.

   MICHAEL J. WEISS,
   AND OTHER UNKNOWN ACTORS OR CONSPIRATORS,

          Defendants.


                RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE


   Magistrate Judge Maritza Dominguez Braswell

          This matter comes before the Court sua sponte due to Plaintiff’s failure to effectuate

   service on Defendant Michael Weiss and failure to show good cause for the lack of service in his

   responses to the Order to Show Cause Pertaining thereto. (See Doc. No. 76.) The Court

   respectfully RECOMMENDS dismissing Plaintiff’s claims against Defendant Weiss without

   prejudice.

                                        PRO SE SUMMARY

          The Court is recommending that your claims against Defendant Michael J. Weiss be

   dismissed without prejudice. If the presiding judge agrees to dismiss without prejudice, you may

   be able to reassert your claims against Defendant Weiss in a new legal action. You have not

   served Defendant Weiss within the period allowed by the Federal Rules of Civil Procedure, and
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   the Court does not see a reason to allow you additional time. This is only a summary of the

   Court’s recommendation, which you should read in full below.

                                            BACKGROUND

          Plaintiff, proceeding pro se, filed his Third Amended Complaint on May 2, 2022, naming

   Mr. Weiss as one of several defendants. (Doc. No. 41 at 6.) The Third Amended Complaint

   alleges that Mr. Weiss, along with other the defendants, “conspired to deprive Mr. Frederickson

   of his property by way of threat, extortion, and harassment,” and “has run a campaign of

   systematic harassment and intimidation against Mr. Frederickson” on the internet, in connection

   with Plaintiff’s status as registered sex offender. (Id. at 2, 11, 14.) The Third Amended

   Complaint brings ten claims against the named defendants and “other unknown actors and

   conspirators,” asserting violations against Plaintiff’s First, Fifth, and Fourteenth Amendment

   rights, a conspiracy to violate his constitutional rights, pursuant to 42 U.S.C. § 1983, violations

   of his statutory rights, pursuant to 42 U.S.C. §§ 1985 and 1986, and violations of Colorado state

   law. (Doc. No. 41 at ¶¶ 18–36.)

          On February 15, 2023, this Court recommended that the Honorable Charlotte N. Sweeney

   grant Defendants Larimer County and Chad Grey’s Motion to Dismiss, dismissing all remaining

   named defendants except Defendant Weiss. 1 (Doc. No. 75; see Doc. No. 44.) At the time of the

   Recommendation, though the window for timely service had passed, Defendant Weiss had yet to

   be served in this matter. (Id. at 1 n.1.) Accordingly, contemporaneous with the Court’s

   Recommendation, the Court issued an Order to Show Cause, directing Plaintiff to show good


   1
    The Court recommended that Plaintiff’s Monell claim against Larimer County, Fifth
   Amendment claims, and claims brought pursuant to 42 U.S.C. §§ 1985 and 1986 be dismissed
   without prejudice. (Doc. No. 75 at 14, 17, 27.)

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   cause for his failure to serve Defendant Weiss timely. (Doc. No. 76.) In the Order, Plaintiff was

   warned that if he “fail[ed] to show good cause for his failure to effect service of Defendant

   Weiss, the Court will recommend the dismissal of Defendant Weiss from this action without

   further notice.” (Id. at 2.)

           Plaintiff made several filings following the Order to Show Cause. First, on February 28,

   2022, Plaintiff filed an “Answer to Motion to Show Cause.” The filing did not specifically

   reference Plaintiff’s failure to serve Defendant Weiss. However, Plaintiff did state that he “had

   extremely limited time consulting with the Pro Se clinic and [had] been afforded no more then

   [sic] 2 hour[s] on separate occasions” since October 2022 and that “plaintiff requests additional

   time to perfect further submission’s [sic].” 2 (Doc. No. 77 at 1.)

           On the same day, Plaintiff filed an “Answer to Motion to Show Cause Concerning

   Service of Parties.” (Doc. No. 78.) In this response, Plaintiff appears to contend that Defendant

   Weiss was aware of the case, but Plaintiff had been unable to locate Defendant Weiss’s address

   and personally serve him. (Id.) Instead, Plaintiff contended that Defendant Weiss had been

   served by “published notice”:

           Notice to defendant Michael J. Weiss … [w]as performed in a published notice as
           the defendant is out of state and has avoided service by confusing his location
           VIA use of the internet. Notice was replied to and mocked by the defendant.

           The published notice and response was made by the owner of the youtube
           channel. The belief the owner of the channel is indeed Michael J. Weiss, however
           locating his address or further information is hampered by the veil created by the
           internet….


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     In response to these statements, Judge Sweeney granted Plaintiff nearly a month-long extension
   to file an objection to the Court’s Recommendation as to Larimer County and Chad Grey’s
   Motion to Dismiss. (Doc. No. 79.)


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          I thereby declare the act of notice has been in fact given to the defendant[.]

   (Id.) Plaintiff did not include any exhibits or otherwise submit evidence to support his assertions.

          On March 26, 2023, Plaintiff submitted another “Answer to Motion to Show Cause.”

   (Doc. No. 81.) Plaintiff again asserted that Defendant Weiss “has received legal notice of the

   legal action.” (Id. at 1.) Plaintiff acknowledged Defendant Weiss had not been personally

   served, 3 but rather was aware of the case due to “public notice,” and had acknowledged the case

   in YouTube posts. (Id.) Plaintiff did not provide evidence for these assertions. Plaintiff also

   stated he was advised by the “Pro Se Clinic” to file a motion for “the LEAVE FOR USE OF

   PUBLIC NOTICE” in order to effectuate the service of Mr. Wiess. (Id.)

          On March 27, 2023, Plaintiff filed a “Motion for Leave to Use Public Notice.” The

   motion did not provide additional detail and was denied by the Court for failure to comply with

   D.C.COLO.LCivR 7.1(a) and because “the Court [was] unclear as to what relief Plaintiff is

   seeking.” (Doc. No. 83, 86.) Later the same day, Plaintiff filed a new motion for “Leave for Use

   of Public Notice.” (Doc. No. 87.) This filing was identical to Plaintiff’s March 26 “Answer to

   Motion to Show Cause” except that it struck the original title. (Id.) The Court again denied the

   motion for failure to comply with D.C.COLO.LCivR 7.1(a). (Doc. No. 89.)

          On March 29, 2023, the Honorable Charlotte N. Sweeney accepted the Court’s

   Recommendation regarding Larimer County and Chad Grey’s motion to dismiss and ordered

   those defendants be dismissed from this action. (Doc. No. 90.) Plaintiff has not made a filing in

   the case since Judge Sweeney’s Order.


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    Plaintiff made an unclear statement that “notice had been delivered to” a neighbor of Mr. Wiess
   and then passed to Mr. Weiss but did not expand on the assertion nor provide evidence
   supporting it. (Doc. No. 81 at 1.)

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                                         LEGAL STANDARD

          A court cannot obtain personal jurisdiction over a party without proper service of process.

   See Murphy Brothers, Inc. v. Mitchetti Pipe Stringing, Inc., 526 U.S. 344, 350 (1999) (“In the

   absence of service of process (or waiver of service by the defendant), a court ordinarily may not

   exercise power over a party the complaint names as a defendant.”) (citation omitted); Okla.

   Radio Associates v. F.D.I.C., 969 F.2d 940, 943 (10th Cir. 1992) (“Rule 4 service of process

   provides the mechanism by which a court having venue and jurisdiction over the subject matter

   of an action asserts jurisdiction over the person of the party served.”) (citations omitted); Lampe

   v. Xouth, Inc., 952 F.2d 697, 700–01 (3d Cir. 1991) (“A court obtains personal jurisdiction over

   the parties when the complaint and summons are properly served upon the defendant. Effective

   service of process is therefore a prerequisite to proceeding further in a case.”).

          Fed. R. Civ. P. 4 governs service of a summons and complaint in federal court. Pursuant

   to Rule 4(c), “[t]he plaintiff is responsible for having the summons and complaint served within

   the time allowed by Rule 4(m) and must furnish the necessary copies to the person who makes

   service.” Fed. R. Civ. P. 4(c). Rule 4(m) provides, in pertinent part,

          [i]f a defendant is not served within 90 days after the complaint is filed, the
          court—on motion or on its own after notice to the plaintiff—must dismiss the
          action without prejudice against that defendant or order that service be made
          within a specified time. But if the plaintiff shows good cause for the failure, the
          court must extend the time for service for an appropriate period.

          Fed. R. Civ. P. 4(m). Though he proceeds pro se, Plaintiff is not excepted from this rule.

   See Green v. Dorrell, 969 F.2d 915, 917 (10th Cir. 1992) (stating that pro se litigants “must

   follow the same rules of procedure that govern other litigants.” Generally, good cause requires

   the moving party to establish that the initial deadline cannot be met, despite her diligent efforts.


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   Scott v. Hern, 216 F.3d 897, 912 (10th Cir. 2000). In Scott, the court set forth the required

   inquiry a court must make before dismissing a case pursuant to Rule 4(m):

          The preliminary inquiry to be made under Rule 4(m) is whether the plaintiff has
          shown good cause for the failure to timely effect service.... If good cause is
          shown, the plaintiff is entitled to a mandatory extension of time. If the plaintiff
          fails to show good cause, the district court must still consider whether a
          permissive extension of time may be warranted. At that point, the district court
          may in its discretion either dismiss the case without prejudice or extend the time
          for service.

   216 F.3d at 912 (quoting Espinoza v. United States, 52 F.3d 838, 840 (10th Cir. 1995)).

                                                ANALYSIS

          In this case, and with respect to Defendant Weiss, the original service deadline expired in

   May 2022. (See Doc. No. 1.); Bolden v. City of Topeka, 441 F.3d 1129, 1148 (10th Cir. 2006)

   (“[T]he [90-] day period provided by Rule 4(m) is not restarted by the filing of an amended

   complaint except as to those defendants newly added in the amended complaint.”). The Court

   directed Plaintiff to show good cause for his failure to timely serve Defendant Weiss, and warned

   Plaintiff that failure to show good cause could result in dismissal. (Doc. No. 76.) While Plaintiff

   did submit responses to the Order (see Doc. Nos. 76; 77; 81), none of those responses are

   sufficient to avoid a recommendation of dismissal, and the Court will explain why. First, while

   Plaintiff made several claims that Defendant Weiss had been served by “public notice,” Plaintiff

   did not attempt to provide evidence of such notice (either attached to his responses or as separate

   docket entries), nor did he make any attempt to explain why such notice was procedurally

   sufficient in this case. 4 (See Doc. Nos. 78, 81.) Further, Plaintiff seems to assert that he effected


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     Likewise, Plaintiff’s motions for leave to serve Defendant Weiss by “public notice” do not
   attempt to make a legal argument as to why such method of service is sufficient or necessary in
   this case. (Doc. Nos. 83; 87.)

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   service by mail, and/or that Defendant Weiss’s neighbor received the notice, but his assertion is

   unexplained, not supported by any evidence, and lacks any discussion of the legal basis for

   serving Defendant Weiss by mail. (Doc. No. 81 at 1.) Finally, other than describing his general

   trouble locating Defendant Weiss, Plaintiff’s responses do not attempt to explain why his failure

   to serve Defendant Weiss was excusable. Plaintiff’s responses also do not demonstrate that

   additional time for service is likely to result in successful service.

          In some sense, Plaintiff has already received a de facto extension. Six months have

   passed since the Order to Show Cause without any indication that Plaintiff has continued his

   efforts to serve Defendant Weiss, let alone that Defendant Weiss has been served. Indeed,

   Plaintiff has not made a filing in the case in nearly five months. See generally Dona’t v.

   Amazon.com/Kindle, 482 F. Supp. 3d 1137, 1144 (D. Colo. 2020) (The prosecution of this

   lawsuit, including service on the defendants, is ultimately Plaintiff’s responsibility.”

   (citing Fields v. Okla. State Penitentiary, 511 F.3d 1109, 1113 (10th Cir. 2007)). Though the

   Court acknowledges Plaintiff’s pro se status, and construes his pleadings liberally, Plaintiff has

   not demonstrated good cause for the failure to serve, or for an extension, and the Court is

   concerned that allowing any additional time for service will only result in more delay.

                                             CONCLUSION

          Accordingly, the Court respectfully RECOMMENDS that the claims against Defendant

   Weiss be dismissed without prejudice.




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                                  ADVISEMENT TO THE PARTIES

          Within fourteen days after service of a copy of the Recommendation, any party may

   serve and file written objections to the Magistrate Judge’s proposed findings and

   recommendations with the Clerk of the United States District Court for the District of Colorado.

   28 U.S.C. ' 636(b)(1); Fed. R. Civ. P. 72(b); In re Griego, 64 F.3d 580, 583 (10th Cir. 1995). A

   general objection that does not put the district court on notice of the basis for the objection will

   not preserve the objection for de novo review. “[A] party’s objections to the magistrate judge’s

   report and recommendation must be both timely and specific to preserve an issue for de novo

   review by the district court or for appellate review.” United States v. One Parcel of Real Prop.

   Known As 2121 East 30th Street, Tulsa, Okla., 73 F.3d 1057, 1060 (10th Cir. 1996). Failure to

   make timely objections may bar de novo review by the district judge of the magistrate judge’s

   proposed findings and recommendations and will result in a waiver of the right to appeal from a

   judgment of the district court based on the proposed findings and recommendations of the

   magistrate judge. See Vega v. Suthers, 195 F.3d 573, 579-80 (10th Cir. 1999) (a district court’s

   decision to review a magistrate judge’s recommendation de novo despite the lack of an objection

   does not preclude application of the “firm waiver rule”); One Parcel of Real Prop., 73 F.3d at

   1059-60 (a party’s objections to the magistrate judge’s report and recommendation must be both

   timely and specific to preserve an issue for de novo review by the district court or for appellate

   review); Int’l Surplus Lines Ins. Co. v. Wyo. Coal Ref. Sys., Inc., 52 F.3d 901, 904 (10th Cir.

   1995) (by failing to object to certain portions of the magistrate judge’s order, cross-claimant had

   waived its right to appeal those portions of the ruling); Ayala v. United States, 980 F.2d 1342,

   1352 (10th Cir. 1992) (by their failure to file objections, plaintiffs waived their right to appeal


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   the magistrate judge’s ruling); but see, Morales-Fernandez v. INS, 418 F.3d 1116, 1122 (10th

   Cir. 2005) (firm waiver rule does not apply when the interests of justice require review).

          Dated this 22nd day of August, 2023.

                                                 BY THE COURT:


                                                 ___________________________
                                                 Maritza Dominguez Braswell
                                                 United States Magistrate Judge




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